
USCA1 Opinion

	













                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


        No. 97-1299

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                  PAUL A. BLODGETT,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. D. Brock Hornby, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                                 Stahl, Circuit Judge,
                                        _____________
                           Campbell, Senior Circuit Judge,
                                     ____________________
                          and Bownes, Senior Circuit Judge.
                                      ____________________

                                 ____________________

            Jane Elizabeth Lee for appellant.
            __________________
            Margaret  D. McGaughey,  Assistant  United States  Attorney,  with
            ______________________
        whom Richard W.  Murphy, Assistant United States Attorney,  and Jay P.
             __________________                                         ______
        McCloskey, United States Attorney, were on brief for appellee.
        _________


                                 ____________________

                                   November 7, 1997
                                 ____________________
                      STAHL, Circuit Judge.  Appellant Paul  A. Blodgett,
                      STAHL, Circuit Judge.
                             _____________

            convicted and  sentenced on  two counts of  being a  felon in


















            possession of a  firearm, see 18 U.S.C.    922(g)(1), appeals
                                      ___

            the  district  court's  decision  to   enhance  his  sentence

            pursuant to the  Armed Career Criminal  Act ("ACCA"), see  18
                                                                  ___

            U.S.C.    924(e).   Specifically, Blodgett disputes  that his

            prior criminal record  reflects the three  predicate offenses

            necessary  for an  ACCA enhancement.   Finding  no  error, we

            affirm.

                           Background and Prior Proceedings
                           Background and Prior Proceedings

                      On May 9, 1996, police in Old Orchard Beach, Maine,

            arrested  Blodgett after a  high-speed automobile pursuit and

            subsequent  foot chase.   The  police  found Blodgett  hiding

            under  a  blanket,   holding  a  loaded  and   half-cocked  9

            millimeter  handgun.   The government  charged  Blodgett with

            four   weapons  related  counts,  two  pertaining  to  the  9

            millimeter  handgun and two pertaining  to a 12 gauge shotgun

            subsequently  found  in  Blodgett's car.    A  jury convicted

            Blodgett on  the counts relating to the 9 millimeter handgun.



                      The  district court  imposed a 293  month sentence.

            The court based  its sentence in part on  its conclusion that

            Blodgett's  criminal   history  triggered   the  fifteen-year

            mandatory  minimum sentence provided  in the ACCA.   Although

            Blodgett had eight  juvenile and  nineteen adult  convictions

            that   produced  no  criminal   history  points,   the  court

            determined  that Blodgett  had  five other  convictions which



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            supplied  the predicate  necessary for  an ACCA  enhancement.

            Blodgett conceded two  of the five convictions,  but disputed

            that  any  of  the  remaining  three,  a  1984  Massachusetts

            conviction for breaking and entering, a 1983 Maine conviction

            for  reckless conduct  with  a dangerous  weapon, and  a 1987

            Maine  conviction  for  burglary,  should  count  toward  the

            enhancement.   Blodgett's challenge  to the  district court's

            ACCA enhancement forms the basis of this appeal.

                                      Discussion
                                      Discussion

                      "Whether a  conviction  for a  particular  type  of

            crime  qualifies as  a predicate  offense  presents a  purely

            legal question, sparking  de novo review."   United States v.
                                      __ ____            _____________

            Winter,  22  F.3d  15,  18 (1st  Cir.  1994)  (citing  United
            ______                                                 ______

            States v. DeJesus, 984 F.2d 21,  23 n.4 (1st Cir. 1993)); see
            ______    _______                                         ___

            United  States v. Fiore, 983 F.2d 1, 2 (1st Cir. 1992)).  Our
            ______________    _____

            de novo review leads us to conclude that at least one  of the
            __ ____

            convictions  Blodgett  challenges,   the  1984  Massachusetts

            conviction for breaking  and entering, serves as  a predicate

            offense for purposes  of the ACCA enhancement.   Accordingly,

            we affirm.

                      The  ACCA provides that anyone convicted as a felon

            in possession  of a firearm  who has three  previous "violent

            felony" or "serious drug" convictions will receive a fifteen-

            year mandatory minimum sentence.  18 U.S.C.   924(e)(1).  The

            ACCA defines  "violent felony"  as "any  crime punishable  by



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            imprisonment for a term exceeding one year" that reflects any

            of  several  enumerated  violent  attributes.1   18  U.S.C.  

            924(e)(2).   Certain crimes, however, do not  fall within the

            statutory definition  of a "crime  punishable by imprisonment

            for  a term  exceeding one  year."   Such crimes  include any

            offense that a  state classifies as  a misdemeanor and  which

            carries a maximum penalty of two years or less, see 18 U.S.C.
                                                            ___

              921(a)(20)(B), and  any offense for which a  person has had

            his civil rights restored, unless  that restoration expressly

            provides  that the person may not ship, transport, possess or

            receive firearms, see 18 U.S.C.   921(a)(20).
                              ___

                      In  1984, Blodgett  was convicted for  breaking and

            entering  and sentenced  to 18  months in  the state  prison.

            Blodgett now  claims that the  offense does not  constitute a

            felony, and, even if  it does, that he never lost  one of his

            civil rights and had the  others restored subsequent to  that

                                
            ____________________

            1.  Specifically,  a violent felony is a "crime punishable by
            imprisonment for a term exceeding one year" that:

                           (i) has as an element the  use,
                           attempted use or threatened use
                           of force against  the person of
                           another; or

                           (ii) is  burglary,  arson,   or
                           extortion, involves the  use of
                           explosives,     or    otherwise
                           involves conduct that  presents
                           a  serious  potential  risk  of
                           physical injury to another. . .
                           . 

            18 U.S.C.   924(e)(2).  

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            conviction and prior to his  most recent offense.  Neither of

            Blodgett's arguments is availing.  

                      Contrary   to   Blodgett's  assertion,   the   1984

            Massachusetts conviction clearly  falls within the definition

            of  a "crime punishable by imprisonment  for a term exceeding

            one year."   18 U.S.C.    921(a)(20).  Massachusetts  defines

            "felony" as "[a] crime punishable by death or imprisonment in

            the state  prison. .  . ."   Mass.  Gen.  Laws ch.  274,    1

            (noting  that  all  other  crimes  are  misdemeanors).    The

            breaking and entering statute that underlies  Blodgett's 1984

            Massachusetts conviction provides for a maximum punishment of

            twenty years  imprisonment.  See  Mass. Gen. Laws ch.  266,  
                                         ___

            16.    In  other words,  Massachusetts  classifies Blodgett's

            conviction as a felony, and, even if it  did not, the maximum

            sentence Blodgett could have  received removes his conviction

            from the exception of   921(a)(20)(B).   See United States v.
                                                     ___ _____________

            Indelicato, 97 F.3d 627, 628 n.1 (1st Cir. 1996) (considering
            __________

            the  maximum  statutorily authorized  punishment  rather than

            actual sentence for  purposes of 18 U.S.C.    921(a)(20)(B)),

            cert. denied, 117 S. Ct. 1013 (1997).
            _____ ______

                      Blodgett insists  that even if the  conviction does

            constitute a felony, Massachusetts  restored his civil rights

            which precludes the  conviction from counting toward  an ACCA

            enhancement.  See 18 U.S.C.    921(a)(20).  "In this circuit,
                          ___

            the  civil  rights  that  must  be  restored to  trigger  the



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            exception are the rights to  vote, hold public office, and to

            serve on a jury."  United  States v. Estrella, 104 F.3d 3,  6
                               ______________    ________

            (1st  Cir.  1997).   We  consider civil  rights  restored for

            purposes  of   921(a)(20) whether by automatic application of

            law or by  affirmative,  executive act.  See United States v.
                                                     ___ _____________

            Caron, 77 F.3d 1,  4 (1st Cir. 1996)  (en banc).  As  we have
            _____

            noted, a convicted  felon in Massachusetts retains  the right

            to  vote, loses  the  right  to hold  public  office for  the

            duration of  any sentence, and loses the  right to serve on a

            jury for seven  years after conviction.   See id. at 2.   The
                                                      ___ ___

            government does  not dispute that  Massachusetts has restored

            Blodgett's core civil rights.

                      Blodgett, however, is not  home free.   Restoration

            of civil rights removes the conviction from the realm of ACCA

            predicate  offenses "unless  . .  .  such restoration  . .  .

            expressly provides that  the person may not  ship, transport,

            possess, or receive  firearms."  18 U.S.C.    921(a)(20).  In

            United States  v. Estrella, 104  F.3d 3, 8 (1st  Cir.), cert.
            _____________     ________                              _____

            denied, 117 S. Ct. 2494 (1997), we held that the restrictions
            ______

            Massachusetts  imposes on  a felon's  right  to own  firearms

            trigger the "unless" clause in   921(a)(20).  Felons desiring

            to own firearms in Massachusetts must have been released from

            custody for  five  years,  and  then must  obtain  a  firearm

            identification card.  See id. at 7.  A firearm identification
                                  ___ ___

            card permits a felon to possess a handgun in his residence or



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            place of business  and to possess a rifle  anywhere.  See id.
                                                                  ___ ___

            Notably, a  felon may  not possess a  handgun outside  of his

            residence or  place of  business, nor sell,  rent or  lease a

            firearm to  another person.   See  id.   Estrella, therefore,
                                          ___  ___   ________

            precludes Blodgett's argument.  

                      Blodgett   points   out   that  Estrella determined
                                                      ________

            whether  such a  Massachusetts conviction  could  serve as  a

            felony supporting  a conviction  under the  federal felon  in

            possession of a  firearm statute.  See 18  U.S.C.   922(g)(1)
                                               ___

            (providing   criminal  penalties   for  felons   who  possess

            firearms).  He  maintains that "[t]here are  reasons why this

            Court  might  choose   to  interpret  Massachusetts   law  as

            preserving the federal ban on  handgun possession by a felon,

            and yet not interpret Massachusetts law as allowing  a severe

            enhancement of defendant's  sentence where defendant's  civil

            rights  have been  restored."   Blodgett  does not  enumerate

            these reasons, but generally  seems to argue for a  different

            interpretation of Massachusetts law depending on whether  the

            government  seeks to  use the  conviction  for purposes  of  

            922(g) or   921(a)(20), and, therefore,   924(e).

                      In United States  v. Alston, 112  F.3d 32, 37  (1st
                         _____________     ______

            Cir. 1997), we  rejected the precise argument  Blodgett makes

            in  this  appeal.   The  defendant  in  Alston challenged the
                                                    ______

            inclusion  of a prior Massachusetts conviction as a predicate

            offense for ACCA purposes because  his civil rights had  been



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            restored.   112  F.3d at  37.   We noted  that "Massachusetts

            materially restricts an ex-felon's right to carry and traffic

            in firearms regardless of the passage of time," id., and that
                                                            ___

            such  restrictions  trigger  the  "unless"  exception  to    

            921(a)(20), see id. at 38  (citing Estrella, 104 F.3d  at 8).
                        ___ ___                ________

            On that basis  we affirmed the enhancement of the defendant's

            sentence  pursuant to  the ACCA.    See id.; see also  United
                                                ___ ___  ___ ____  ______

            States  v. Palazzi,  115  F.3d  906,  908  (11th  Cir.  1997)
            ______     _______

            (adopting  Estrella's  interpretation  of  Massachusetts  law
                       ________

            under  the "unless" clause  of   921(a)(20)  and affirming an

            ACCA enhancement on that basis).  We see no reason to deviate

            from  Alston in this  case.  We  therefore conclude  that the
                  ______

            district   court   properly    considered   Blodgett's   1984

            Massachusetts  conviction  as  a predicate  offense  for  a  

            924(e) enhancement.

                                      Conclusion
                                      Conclusion

                      Blodgett concedes that two of his prior convictions

            constitute  predicate offenses,  and we  find  that his  1984

            Massachusetts   conviction   for    breaking   and   entering

            constitutes the  third predicate offense for ACCA enhancement

            purposes.  We need not consider the remaining two  challenged

            convictions.  See  18 U.S.C.   924(e)  (requiring three prior
                          ___

            violent felony convictions to trigger enhancement).    

                      Affirmed.
                      Affirmed.





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                      Bownes,  Senior Circuit  Judge,  concurring in  the
                      Bownes,  Senior Circuit  Judge,  concurring in  the
                      ___________________________________________________

            judgment:  I write separately  because I am concerned that we
            judgment
            ________

            have significantly expanded a prior precedent,  United States
                                                            _____________

            v.  Estrella, 104  F.3d  3 (1st  Cir.  1997), without  giving
                ________

            serious  consideration to the difference between Estrella and
                                                             ________

            the circumstances attending the present case.  

                      The defendant  in Estrella appealed  his conviction
                                        ________

            under the  federal felon-in-possession  statute, 18  U.S.C.  

            922(g)(1),  arguing   that  a   prior  Massachusetts   felony

            conviction  could not serve  as a predicate  felony under the

            federal statute because his civil rights had been restored by

            operation  of Massachusetts  law.    This  court  held  that,

            notwithstanding the retention of a  felon's right to vote and

            the restoration  of his rights  to hold public office  and to

            serve on a  jury, the restrictions Massachusetts imposes on a

            convicted  felon's right to own firearms trigger the "unless"

            clause  in  18  U.S.C.     921(a)(20),  which  nullifies  the

            ordinary rule that a civil rights restoration will remove the

            conviction  from  consideration as  a  predicate offense  for

            purposes  of the  federal felon-in-possession  statute.   See
                                                                      ___

            Estrella, 104 F.3d at 8.   Estrella's holding went no further
            ________                   ________

            than the context  of that case:   it merely permitted such  a

            prior conviction to serve as  a predicate felony to support a

            federal  conviction  under the  felon-in-possession  statute.

            Id.  
            ___



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                      In  the present  case,  the  majority applies  this

            conclusion  to an  entirely different  context:   to  enhance

            Blodgett's  sentence  under  the  Armed  Career Criminal  Act

            (ACCA).   As  the  opinion  notes,  Blodgett  maintains  that

            "[t]here are reasons why this Court might choose to interpret

            Massachusetts  law as preserving  the federal ban  on handgun

            possession  by a felon,  and yet not  interpret Massachusetts

            law  as allowing a severe enhancement of defendant's sentence

            where defendant's civil rights have been restored."  Ante, at

            7.   Even if Massachusetts'  restrictions on the right  of an

            individual, previously  convicted of a  Massachusetts felony,

            to  own firearms  should have  a bearing  on the  question of

            whether to  criminalize federally an  individual's possession

            of  a firearm,  it is  not at  all clear  that Massachusetts'

            restrictions have any effect upon the very different question

            of whether that  individual's Massachusetts conviction should

            result  in an  enhanced sentence  upon conviction of  a later

            federal  offense.  Accordingly, before we expand the Estrella
                                                                 ________

            holding  from one  context to  the other,  I think  we should

            carefully consider whether such expansion is appropriate, and

            we should discuss our reasoning if we decide to go ahead with

            the expansion.

                      I do not  think we did this in  Alston.  The Alston
                                                      ______       ______

            decision focused almost exclusively on a completely different

            issue (whether the prosecution's significant alteration of  a



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            gun  should have precluded  its being received  in evidence).

            Alston's  expansive  reading  of  Estrella   was  offered  in
            ______                            ________

            response to  the last of several also-ran  arguments that the

            court dealt with only very  briefly.  We conclusorily applied

            Estrella, noting simply that: 
            ________

                      In  Estrella,  we   found  these  limited
                          ________
                      [Massachusetts] restrictions  trigger the
                      above-quoted  'unless'  exception  to the
                      provision  relied   upon  by   Alston  as
                      restoring his civil rights.   18 U.S.C.  
                      921(a)(20).   Estrella was  decided after
                                    ________
                      Alston's   sentence   and   the  original
                      briefing [in  this court], but  his reply
                      brief  has no  effective  answer to  that
                      decision.

            Alston,  112 F.3d  at 38.   Thus,  far from  "reject[ing] the
            ______

            precise  argument  Blodgett  makes in  this  appeal,"  as the

            majority  asserts  ante  at 7,  Alston  never  addressed that
                               ____         ______

            argument.  The court in  Alston did not even acknowledge that
                                     ______

            it  was applying  the  Estrella  conclusion  to  a  different
                                   ________

            context  -- which  is Blodgett's argument  here --  much less

            provide any  reasoning for  such an expansion.   Nor  did the

            defendant  in Alston brief  the question of  whether Estrella
                          ______                                 ________

            should be applied in the sentence enhancement context.

                      In the present  case, in contrast, as  the majority

            acknowledges, Blodgett  does at  least raise  the issue  that

            Estrella on its face does not address the present context.  I
            ________

            do not  think we  should assert that  Estrella's holding  has
                                                  ________

            been significantly enlarged to  the sentencing context merely

            by  referring   to  Alston's   conclusion  (without   further
                                ______


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            analysis)  and stating that we will not "deviate from Alston"
                                                                  ______

            here.  If we  are going to enshrine this expansion into solid

            precedent, we should  discuss its consistency with  the plain

            language  (first) and the context and legislative history (if

            the  plain language is not clear)  of the relevant provisions

            of the enhanced sentencing statute (ACCA).  

                      Nevertheless,  as  the   majority  notes,  although

            Blodgett  does direct our attention to the implicit expansion

            that  would  inhere in  our  application of  Estrella  to the
                                                         ________

            enhanced  sentencing context,  he has  not  provided us  with

            developed argumentation  explaining why such  expansion would

            be  inconsistent   with  legislative   intent  or   otherwise

            violative  of law.   It  is  a "settled  appellate rule  that

            issues  adverted to in a perfunctory manner, unaccompanied by

            some effort  at developed argumentation," are  deemed waived.

            Continental Cas. Co. v. Canadian Universal Ins. Co., 924 F.2d
            ____________________    ___________________________

            370, 375 (1st Cir. 1991).   For this reason, I concur in  the

            majority's judgment affirming the district court's sentence.

















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